                                         IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA - (PHOENIX)




                                                               In Proceedings Under:
In re:                                                         Bankruptcy Chapter 11
LINDBLOM, COY R                                                2:14-BK-01011-DPC
LINDBLOM, KATHLEEN
                                                Debtor


                                                           ARIZONA DEPARTMENT OF REVENUE'S
                                                           WITHDRAWAL OF PROOF OF CLAIM




The Arizona Department of Revenue hereby withdraws its Proof of Claim, dated 01/31/2014, in the amount of

         $2,087.00   A copy of the claim is attached hereto.




                                                                                                   Digitally signed by M. Steinke


                                                                                   M. Steinke
                                                                                                   DN: cn=M. Steinke, o=AZ Dept. of
                                                                                                   Revenue, ou=Bankruptcy,
                                                                                                   email=msteinke@azdor.gov, c=US
                                                                                                   Date: 2016.08.30 11:02:33 -07'00'


                                                                                ARIZONA DEPARTMENT OF REVENUE
         Dated this 08/30/2016
                                                                                Bankruptcy and Litigation Section
                                                                                1600 West Monroe Street
                                                                                Phoenix, AZ 85007




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                            STATE OF ARIZONA - PROOF OF CLAIM FOR ARIZONA DEPARTMENT OF REVENUE



          United States Bankruptcy Court for the District of Arizona - (Phoenix)
                                                          ORIGINAL
                                                                                                      Case Number 2:14-BK-01011-DPC
                                                                                                      Chapter:       Bankruptcy Chapter 11
 In the Matter of: LINDBLOM, COY R                                                                    Taxpayer ID: XXX-XX-0697
                   LINDBLOM, KATHLEEN                                                                                XXX-XX-8532
                                                                                                      Tax Type:      IND
                                                                                                      Petition Date: 01/28/2014



                              Total Priority:                                            $2,087.00
                              Amount Due as of this Statement:                           $2,087.00
1. The undersigned is the agent of the Arizona Department of Revenue and is authorized to make this proof of claim on its behalf.
2. The Debtor was at the time of the filing of the petition initiating this case, and still is, indebted to the State of Arizona.
3. The amount of all payments on this claim have been credited and deducted for the purpose of making this claim.
4. The grounds for the liability are for taxes due under the Arizona Revised Statutes.
   a. Secured Lien(s) in the event there is insufficient property for the lien to attach, all claims so entitled will be treated as priority
      under 11 USC Section 507(a)(8).
   b. Unsecured Priority under Section 507(a)(8) of the Bankruptcy Code
   Tax Type Memo                                          Period                          Tax         Penalty       Interest          Total
    IND           Est. due to non-filing                              12/31/2013     $2,087.00           $0.00        $0.00     $2,087.00
                                                                                                  Total Section Priority:       $2,087.00
   c. Amounts claimed as Priority under Section 1305
   d. Unsecured General Claims
                                                                             Amount Due as of this Statement:                   $2,087.00
 5. No note or other negotiable instrument has been received for the account or any part of it, except
 6. No judgement has been rendered on this claim, except...
 7. The Department may have a right to setoff. The Department does not waive such right.
 8. Make checks payable to the "ARIZONA DEPARTMENT OF REVENUE".
 9. All tax returns shall be filed directly with the Arizona Department of Revenue, Bankruptcy Section.

   ARIZONA DEPARTMENT OF REVENUE                                           Signed:
                                                                           Dated:    01/31/2014
Office of the Arizona Attorney General
All notices, correspondence, pleadings and payments will be sent to the    Belinda L Doyen
following address:
c/o: Tax, Bankruptcy and Collection Section
1275 West Washington Avenue
Phoenix, AZ 85007
Phone: 602-542-8811




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ORIGINAL and ONE COPY FILED ON:

01/31/2014


   COPY of the foregoing mailed on:
   08/30/2016



   WHITE, MATTHEW UDALL SHUMWAY PLC
   1138 N ALMA SCHOOL ROAD #101
   MESA AZ 85201


   Attorney of Debtor

   Debtor(s)




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